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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Jacquelyn Hughes,                                No. CV-20-01556-PHX-DWL
10                  Plaintiff,                        ORDER
11   v.
12   Arizona Department of Agriculture,
13                  Defendant.
14
15            IT IS ORDERED granting the parties’ stipulation to lift the stay and dismiss this
16   action (Doc. 11).

17            IT IS FURTHER ORDERED that the stay is lifted and all claims in the above-
18   captioned case are dismissed without prejudice, with each party bearing its own costs and

19   attorneys’ fees.

20            IT IS FURTHER ORDERED that all hearings and deadlines are vacated, and all
21   pending motions are denied as moot.
22            Dated this 26th day of August, 2021.

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